                 Case 1:23-cv-12683-PBS Document 30 Filed 04/02/24 Page 1 of 1

                                                                                UNITED STATES DISTRICT COURT
                                                                                    DISTRICT OF MASSACHUSETTS
                                                                                           OFFICE OF THE CLERK
                                                                                            1 COURTHOUSE WAY
                                                                                 BOSTON, MASSACHUSETTS 02210

 Robert M. Farrell
 CLERK OF COURT



 TO: Office of the Clerk                                      RE:

 Suffolk Superior Court                                       CIVIL ACTION #. 1:23-12683-PBS

 3 Pemberton Square

 Boston, MA 02108



 Dear Clerk:


 Please be advised that an order transferring the above entitled action to your court was entered
 on      by the Honorable Judge Patti B. Saris
The following documents are included in our file and transmitted herewith:

                  (X )    Certified copy of the docket entries;

                  (X )     Certified copy of Order of Remand;

                  ( X )Original documents numbered 1-29



          Kindly acknowledge receipt of the above on the copy of this letter.

                                                                    Respectfully,

                                                                    ROBERT M. FARRELL
                                                                    CLERK

      Date: 4/2/2024                                                   /s/Clarilde Karasek
                                                                            Deputy Clerk




          The documents listed above were received by me on                                    and assigned

 the following case number:                               .

                                                                    By:
                                                                       Deputy Clerk
